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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

Case No. 4-20241

SEALED DOCUMENT PLACED IN VAULT

EX PARTE SEALED ORDER

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